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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                            Case Number: 12-20195
v.                                                          Honorable Thomas L. Ludington

MARK VINCENT PAWELSKI,

                  Defendant.
_______________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
 DEFENDANT’S PLEA OF GUILTY AS TO COUNT THREE OF THE INDICTMENT,
    AND TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on June 14, 2012, by United States Magistrate Judge Charles

E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report the same day,

recommending that this Court accept the defendant’s plea of guilty as to Count 3 of the indictment.

As of today’s date, no party has filed any objections to the magistrate judge’s report and

recommendation. The election to not file objections to the magistrate judge’s report releases the

Court from its duty to independently review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation (ECF

No. 36) is ADOPTED.

       It is further ORDERED that the defendant’s plea of guilty as to Count 3 of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement (ECF No. 35) is taken UNDER ADVISEMENT.

                                             s/Thomas L. Ludington
                                             THOMAS L. LUDINGTON
                                             United States District Judge
Dated: July 26, 2012
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                                          PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was served
                  upon each attorney or party of record herein by electronic means or first
                  class U.S. mail on July 26, 2012.
                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS




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